       Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 1 of 12




                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                    July 12, 2021

Michelle M. Sweet, Esq.                      Eugene Gorokhov, Esq.
Federal Public Defender                      Burnham & Gorokhov, PLLC
District of Oregon                           1424 K Street NW, Suite 500
101 SW Main Street, Suite 1700               Washington, D.C. 20005
Portland, OR 97204

       Re:      United States v. Jonathan Peter Klein & Matthew Leland Klein
                Case No. 21-CR-237

Dear Counsel:

        I have uploaded to USAfx an additional batch of discovery consisting of Sensitive and
Highly Sensitive items. The file names for these items should reflect whether the information is
considered Sensitive or Highly Sensitive. In addition, each of the .pdf files have headers/footers
identifying the item’s classification.

        The following Sensitive items are being disclosed in raw form and, as such, do not contain
classification headers/footers:

              •    266O-PD-3386048_0000039_1A0000029_0000002 (SENSITIVE).html
              •    266O-PD-3386048_0000001_1A0000001_0000002 (SENSITIVE).jpg
              •    266O-PD-3386048_0000066_1A0000051_0000003 (SENSITIVE).jpg
              •    266O-PD-3386048_0000059_1A0000049_0000003 (SENSITIVE).csv
              •    266O-PD-3386048_0000059_1A0000050_0000003 (SENSITIVE).csv
              •    266O-PD-3386048_0000079_1A0000052_0000002 (SENSITIVE).csv
              •    266O-PD-3386048_0000079_1A0000052_0000003 (SENSITIVE).csv
              •    266O-PD-3386048_0000079_1A0000052_0000006 (SENSITIVE).xlsx
              •    266O-PD-3386048_0000079_1A0000052_0000007 (SENSITIVE).xlsx
              •    266O-PD-3386048_0000057_Import (SENSITIVE).docx
              •    266O-PD-3386048_0000018_1A0000016_0000002 (SENSITIVE).zip
              •    266O-PD-3386048_0000039_1A0000029_0000001 (SENSITIVE).zip
              •    266O-PD-3386048_0000039_1A0000029_0000003 (SENSITIVE).zip
           Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 2 of 12




                 •    266O-PD-3386048-GJ_0000005_1A0000004_0000001 (SENSITIVE).zip
                 •    266O-PD-3386048-GJ_0000009_1A0000008_0000006 (SENSITIVE).zip
                 •    266O-PD-3386048_0000063_1A0006218_0000001 (SENSITIVE).png

           Provided with this letter is an index of the items the government has tendered in discovery
to date.

         As always, please let me know if you have any questions or issues accessing any of the
files. Please also let me know if there are items that have not yet been produced that you would
like prioritized as the formal discovery productions are prepared.

                                                        Sincerely,

                                                        s/ Christopher K. Veatch
                                                        CHRISTOPHER K. VEATCH
                                                        Assistant United States Attorney




Attachment




                                                    2
                                         Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 3 of 12




Classification   Document Date   Title                            Description                                                                  File Name                         Produced
  Sensitive         2/5/2021                                                                                266O-PD-3386048_0000001_1A0000001_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive         2/5/2021                                                                                266O-PD-3386048_0000001_1A0000001_0000002 (SENSITIVE).jpg            7/12/2021
  Sensitive         2/5/2021                                                                                266O-PD-3386048_0000001_1A0000001_0000003 (SENSITIVE).pdf            7/12/2021
                    2/5/2021
  Sensitive                                                                                                 266O-PD-3386048_0000002 (SENSITIVE).pdf                              7/12/2021
  Sensitive         2/5/2021                                                                                266O-PD-3386048_0000002_1A0010958_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive         2/5/2021                                                                                266O-PD-3386048_0000002_1A0010959_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive         2/9/2021                                                                                266O-PD-3386048_0000004 (SENSITIVE).pdf                              7/12/2021
  Sensitive         2/9/2021                                                                                266O-PD-3386048_0000004_Import (SENSITIVE).pdf                       7/12/2021
  Sensitive         2/9/2021                                                                                266O-PD-3386048_0000005_Import (SENSITIVE).pdf                       7/12/2021
  Sensitive         2/9/2021                                                                                266O-PD-3386048_0000006_Import (SENSITIVE).pdf                       7/12/2021


                    2/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000007 (SENSITIVE).pdf                              7/12/2021
  Sensitive         2/9/2021                                                                                266O-PD-3386048_0000007_1A0000003_0000002 (SENSITIVE).pdf            7/12/2021


                   2/26/2021
  Sensitive                                                                                                 266O-PD-3386048_0000010 (SENSITIVE).pdf                              7/12/2021
  Sensitive        2/26/2021                                                                                266O-PD-3386048_0000010_1A0000005_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive        2/26/2021                                                                                266O-PD-3386048_0000010_Import (SENSITIVE).pdf                       7/12/2021


                    3/3/2021
  Sensitive                                                                                                 266O-PD-3386048_0000014 (SENSITIVE).pdf                              7/12/2021
  Sensitive         3/3/2021                                                                                266O-PD-3386048_0000014_1A0000011_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive         3/3/2021                                                                                266O-PD-3386048_0000014_Import (SENSITIVE).pdf                       7/12/2021
  Sensitive         3/3/2021                                                                                266O-PD-3386048_0000015_1A0000012_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive         3/3/2021                                                                                266O-PD-3386048_0000015_1A0000012_0000002 (SENSITIVE).pdf            7/12/2021


                   3/11/2021
  Sensitive                                                                                                 266O-PD-3386048_0000018 (SENSITIVE).pdf                              7/12/2021
  Sensitive        3/11/2021                                                                                266O-PD-3386048_0000018_1A0000016_0000002 (SENSITIVE).zip            7/12/2021


                   3/18/2021
  Sensitive                                                                                                 266O-PD-3386048_0000022 (SENSITIVE).pdf                              7/12/2021
  Sensitive        3/18/2021                                                                                266O-PD-3386048_0000022_1A0007259_0000001 (SENSITIVE).pdf            7/12/2021


                   3/24/2021
  Sensitive                                                                                                 266O-PD-3386048_0000023 (SENSITIVE).pdf                              7/12/2021
  Sensitive        3/24/2021                                                                                266O-PD-3386048_0000023_1A0007363_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive        3/25/2021                                                                                266O-PD-3386048_0000024_Import (SENSITIVE).pdf                       7/12/2021


                   3/25/2021
  Sensitive                                                                                                 266O-PD-3386048_0000025 (SENSITIVE).pdf                              7/12/2021


                   3/25/2021
  Sensitive                                                                                                 266O-PD-3386048_0000026 (SENSITIVE).pdf                              7/12/2021
  Sensitive        3/25/2021                                                                                266O-PD-3386048_0000026_1A0000021_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive        3/25/2021                                                                                266O-PD-3386048_0000027 (SENSITIVE).pdf                              7/12/2021


                   3/29/2021
  Sensitive                                                                                                 266O-PD-3386048_0000028 (SENSITIVE).pdf                              7/12/2021
  Sensitive        3/29/2021                                                                                266O-PD-3386048_0000028_1A0000023_0000001 (SENSITIVE).pdf            7/12/2021
  Sensitive        3/29/2021                                                                                266O-PD-3386048_0000029_1A0000024_0000002 (SENSITIVE).pdf            7/12/2021
  Sensitive        3/29/2021                                                                                266O-PD-3386048_0000029_1A0000024_0000004 (SENSITIVE).pdf            7/12/2021
  Sensitive        3/29/2021                                                                                266O-PD-3386048_0000029_Import (SENSITIVE).pdf                       7/12/2021
  Sensitive        3/31/2021                                                                                266O-PD-3386048_0000030 (SENSITIVE).pdf                              7/12/2021
                   3/31/2021
  Sensitive                                                                                                 266O-PD-3386048_0000031 (SENSITIVE).pdf                              7/12/2021
                   3/31/2021
  Sensitive                                                                                                 266O-PD-3386048_0000032_Import (SENSITIVE).pdf                       7/12/2021

                    4/1/2021
  Sensitive                                                                                                 266O-PD-3386048_0000035 (SENSITIVE).pdf                              7/12/2021
                    4/1/2021
  Sensitive                                                                                                 266O-PD-3386048_0000035_1A0000026_0000001_PHYSICAL (SENSITIVE).pdf   7/12/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000036.pdf                                          5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000036_Import.pdf                                   5/5/2021
 Nonsensitive

                    4/2/2021                                                                                                                                                     5/5/2021

                                                                                                            266O-PD-3386048_0000037.pdf
  Sensitive         4/2/2021                                                                                266O-PD-3386048_0000037_1A0000027_0000001 (SENSITIVE).pdf            7/12/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000037_1A0000027_0000002.pdf                        5/5/2021
                                         Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 4 of 12




Classification   Document Date   Title                            Description                                                                  File Name                 Produced
  Sensitive         4/2/2021                                                                                266O-PD-3386048_0000037_1A0000027_0000003 (SENSITIVE).pdf    7/12/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000037_1A0000027_0000004.pdf                5/5/2021
  Sensitive         4/2/2021                                                                                266O-PD-3386048_0000037_Import (SENSITIVE).pdf               7/12/2021
 Nonsensitive

                    4/2/2021                                                                                                                                             5/5/2021

                                                                                                            266O-PD-3386048_0000038.pdf
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000038_1A0000028_0000001_PHYSICAL.pdf
                                                                                                                                                                         5/5/2021



                    4/2/2021
  Sensitive                                                                                                 266O-PD-3386048_0000039 (SENSITIVE).pdf                      7/12/2021
  Sensitive         4/2/2021                                                                                266O-PD-3386048_0000039_1A0000029_0000001 (SENSITIVE).zip    7/12/2021
  Sensitive         4/2/2021                                                                                266O-PD-3386048_0000039_1A0000029_0000002 (SENSITIVE).html   7/12/2021
  Sensitive         4/2/2021                                                                                266O-PD-3386048_0000039_1A0000029_0000003 (SENSITIVE).zip    7/12/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000039_1A0000029_0000004_PHYS
                                                                                                            ICAL.pdf                                                     5/5/2021

 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000039_1A0000029_0000005.pdf                5/5/2021
 Nonsensitive
                    4/2/2021                                                                                                                                             5/5/2021
                                                                                                            266O-PD-3386048_0000040.pdf
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000001.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000002.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000003.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000004.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000005.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000006.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000007.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000008.jpg                5/5/2021
 Nonsensitive                                                                                               266O-PD-3386048_0000040_1A0000030_0000009_PHYSICAL.pdf
                    4/2/2021                                                                                                                                             5/5/2021

 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000010.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000011.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000012.jpg                5/5/2021
 Nonsensitive       4/2/2021                                                                                266O-PD-3386048_0000040_1A0000030_0000013.pdf                5/5/2021
 Nonsensitive

                    4/5/2021                                                                                                                                             5/5/2021

                                                                                                            266O-PD-3386048_0000041.pdf
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000041_1A0000012_0000001.pdf                5/5/2021


                    4/5/2021
  Sensitive                                                                                                 266O-PD-3386048_0000042 (SENSITIVE).pdf                      7/12/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000001.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000002.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000003.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000004.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000005.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000006.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000007.pdf                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000008.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000009.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000010.jpg                5/5/2021
 Nonsensitive                                                                                               266O-PD-3386048_0000042_1A0000031_0000011_PHYSICAL.pdf
                    4/5/2021                                                                                                                                             5/5/2021

 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000012.mp4                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000013.mp4                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000014.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000015.jpg                5/5/2021
  Sensitive         4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000016 (SENSITIVE).pdf    7/12/2021
  Sensitive         4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000017 (SENSITIVE).pdf    7/12/2021
  Sensitive         4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000018 (SENSITIVE).pdf    7/12/2021
  Sensitive         4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000019 (SENSITIVE).pdf    7/12/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000042_1A0000031_0000020.pdf                5/5/2021


                    4/5/2021
  Sensitive                                                                                                 266O-PD-3386048_0000043 (SENSITIVE).pdf                      7/12/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000001.jpg                5/5/2021
  Sensitive         4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000002 (SENSITIVE).pdf    7/12/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000003.jpg                5/5/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000004.pdf                5/5/2021
  Sensitive         4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000005 (SENSITIVE).pdf    7/12/2021
 Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000006.JPG                5/5/2021
                                          Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 5 of 12




 Classification   Document Date   Title                            Description                                                                  File Name                               Produced
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000007.mp4                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000008.JPG                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000009_PHYSICAL.pdf
                                                                                                                                                                                        5/5/2021

  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000010_PHYSICAL.pdf
                                                                                                                                                                                        5/5/2021

  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000011.jpg                              5/5/2021
   Sensitive         4/5/2021                                                                                266O-PD-3386048_0000043_1A0000032_0000012 (SENSITIVE).pdf                  7/12/2021


                     4/5/2021
   Sensitive                                                                                                 266O-PD-3386048_0000044 (SENSITIVE).pdf                                    7/12/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000001.jpg                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000002.jpg                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000003.jpg                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000004.jpg                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000005.jpg                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000006.jpg                              5/5/2021
   Sensitive         4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000007 (SENSITIVE).pdf                  7/12/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000008.jpg                              5/5/2021
  Nonsensitive                                                                                               266O-PD-3386048_0000044_1A0000033_0000009_PHYSICAL.pdf
                     4/5/2021                                                                                                                                                           5/5/2021

  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000010.jpg                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000011.JPG                              5/5/2021
  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000012.pdf                              5/5/2021
  Nonsensitive                                                                                               266O-PD-3386048_0000044_1A0000033_0000013.pdf
                     4/5/2021                                                                                                                                                           5/5/2021
  Nonsensitive                                                                                               266O-PD-3386048_0000044_1A0000033_0000014_PHYSICAL.pdf
                     4/5/2021                                                                                                                                                           5/5/2021

  Nonsensitive       4/5/2021                                                                                266O-PD-3386048_0000044_1A0000033_0000015.pdf                              5/5/2021
  Nonsensitive       4/6/2021
                                                                                                                                                                                        5/5/2021
                                                                                                             266O-PD-3386048_0000045.pdf
  Nonsensitive       4/6/2021                                                                                266O-PD-3386048_0000045_1A0000034_0000001.pdf                              5/5/2021
  Nonsensitive                                                                                               266O-PD-3386048_0000045_1A0000034_0000002.pdf
                     4/6/2021                                                                                                                                                           5/5/2021

  Nonsensitive                                                                                               266O-PD-3386048_0000045_1A0000034_0000003_PHYSICAL.pdf
                     4/6/2021                                                                                                                                                           5/5/2021



                     4/6/2021
    Sensitive                                                                                                266O-PD-3386048_0000047 (SENSITIVE).pdf                                    7/12/2021




                     4/6/2021




    Sensitive                                                                                                266O-PD-3386048_0000047_1A0000036_0000001 (SENSITIVE).pdf                  7/12/2021

                     4/6/2021
    Sensitive                                                                                                266O-PD-3386048_0000047_1A0000036_0000002 (SENSITIVE).pdf                  7/12/2021

                     4/6/2021
    Sensitive                                                                                                266O-PD-3386048_0000047_1A0000036_0000003 (SENSITIVE).pdf                  7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000048(HIGHLY SENSITIVE).pdf                              7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000048_1A0000037_0000001_PHYSICAL(HIGHLY SENSITIVE).pdf   7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000048_1A0000038_0000001_PHYSICAL(HIGHLY SENSITIVE).pdf   7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000048_1A0000038_0000002(HIGHLY SENSITIVE).pdf            7/12/2021
                                          Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 6 of 12




 Classification   Document Date   Title                            Description                                                                    File Name                             Produced




                     4/7/2021




Highy Sensitive                                                                                              266O-PD-3386048_0000049(HIGHLY SENSITIVE).pdf                              7/12/2021




                     4/7/2021




Highy Sensitive                                                                                              266O-PD-3386048_0000049_1A0000039_0000001_PHYSICAL(HIGHLY SENSITIVE).pdf   7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000049_1A0000040_0000001(HIGHLY SENSITIVE).pdf            7/12/2021




                     4/7/2021




Highy Sensitive                                                                                              266O-PD-3386048_0000049_1A0000040_0000002_PHYSICAL(HIGHLY SENSITIVE).pdf   7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000050(HIGHLY SENSITIVE).pdf                              7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000050_1A0000041_0000001_PHYSICAL(HIGHLY SENSITIVE).pdf   7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000050_1A0000042_0000001_PHYSICAL(HIGHLY SENSITIVE).pdf   7/12/2021

                     4/7/2021
Highy Sensitive                                                                                              266O-PD-3386048_0000050_1A0000042_0000002(HIGHLY SENSITIVE).pdf            7/12/2021




                     4/7/2021




   Sensitive                                                                                                 266O-PD-3386048_0000051 (SENSITIVE).pdf                                    7/12/2021
  Nonsensitive       4/7/2021                                                                                266O-PD-3386048_0000051_1A0000043_0000001_PHYSICAL.pdf
                                                                                                                                                                                        5/5/2021



                     4/7/2021
   Sensitive                                                                                                 266O-PD-3386048_0000052 (SENSITIVE).pdf                                    7/12/2021
  Nonsensitive       4/7/2021                                                                                266O-PD-3386048_0000052_1A0000044_0000001_PHYSICAL.pdf
                                                                                                                                                                                        5/5/2021

  Nonsensitive       4/7/2021
                                                                                                             266O-PD-3386048_0000053.pdf                                                5/5/2021

  Nonsensitive       4/7/2021                                                                                266O-PD-3386048_0000053_Import.rtf
                                                                                                                                                                                        5/5/2021
                                         Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 7 of 12




Classification   Document Date   Title                            Description                                                                    File Name                       Produced
 Nonsensitive       4/7/2021
                                                                                                            266O-PD-3386048_0000054.pdf                                          5/5/2021

 Nonsensitive                                                                                               266O-PD-3386048_0000054_1A0000045_0000001.png
                    4/7/2021                                                                                                                                                     5/5/2021

 Nonsensitive       4/7/2021                                                                                266O-PD-3386048_0000054_Import.rtf
                                                                                                                                                                                 5/5/2021

 Nonsensitive       4/7/2021
                                                                                                                                                                                 5/5/2021
                                                                                                            266O-PD-3386048_0000055.pdf
 Nonsensitive       4/7/2021                                                                                266O-PD-3386048_0000055_1A0000046_0000001_PHYSICAL.pdf
                                                                                                                                                                                 5/5/2021

 Nonsensitive                                                                                               266O-PD-3386048_0000055_1A0000047_0000001.pdf
                    4/7/2021                                                                                                                                                     5/5/2021

 Nonsensitive
                    4/7/2021                                                                                266O-PD-3386048_0000056.pdf                                          5/5/2021



                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000057 (SENSITIVE).pdf                              7/12/2021

                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000057_Import (SENSITIVE).docx                      7/12/2021
 Nonsensitive
                    4/9/2021                                                                                266O-PD-3386048_0000058.pdf                                          5/5/2021



                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000058_1A0000048_0000001 (SENSITIVE).pdf            7/12/2021
 Nonsensitive                                                                                               266O-PD-3386048_0000058_1A0000048_0000002.pdf
                    4/9/2021                                                                                                                                                     5/5/2021

 Nonsensitive       4/9/2021
                                                                                                            266O-PD-3386048_0000058_Import.pdf                                   5/5/2021



                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000059 (SENSITIVE).pdf                              7/12/2021

                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000059_1A0000049_0000001_PHYSICAL (SENSITIVE).pdf   7/12/2021

                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000059_1A0000049_0000002 (SENSITIVE).pdf            7/12/2021

                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000059_1A0000049_0000003 (SENSITIVE).csv            7/12/2021




                    4/9/2021




  Sensitive                                                                                                 266O-PD-3386048_0000059_1A0000049_0000004 (SENSITIVE).pdf            7/12/2021

                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000059_1A0000050_0000001 (SENSITIVE).pdf            7/12/2021

                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000059_1A0000050_0000002 (SENSITIVE).pdf            7/12/2021

                    4/9/2021
  Sensitive                                                                                                 266O-PD-3386048_0000059_1A0000050_0000003 (SENSITIVE).csv            7/12/2021

                   4/14/2021
  Sensitive                                                                                                 266O-PD-3386048_0000062 (SENSITIVE).pdf                              7/12/2021

                   4/22/2021
  Sensitive                                                                                                 266O-PD-3386048_0000063 (SENSITIVE).pdf                              7/12/2021
                                         Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 8 of 12




Classification   Document Date   Title                            Description                                                                  File Name                Produced




                   4/22/2021




  Sensitive                                                                                                 266O-PD-3386048_0000063_1A0006218_0000001 (SENSITIVE).png   7/12/2021


                   4/22/2021
  Sensitive                                                                                                 266O-PD-3386048_0000063_1A0006218_0000002 (SENSITIVE).pdf   7/12/2021



                   4/22/2021


  Sensitive                                                                                                 266O-PD-3386048_0000063_1A0006218_0000003 (SENSITIVE).pdf   7/12/2021

                   4/22/2021
  Sensitive                                                                                                 266O-PD-3386048_0000064 (SENSITIVE).pdf                     7/12/2021

                   4/22/2021
  Sensitive                                                                                                 266O-PD-3386048_0000065 (SENSITIVE).pdf                     7/12/2021

                   4/22/2021
  Sensitive                                                                                                 266O-PD-3386048_0000066 (SENSITIVE).pdf                     7/12/2021

                   4/22/2021
  Sensitive                                                                                                 266O-PD-3386048_0000066_1A0000051_0000001 (SENSITIVE).pdf   7/12/2021

                   4/22/2021
  Sensitive                                                                                                 266O-PD-3386048_0000066_1A0000051_0000002 (SENSITIVE).pdf   7/12/2021

                   4/22/2021
  Sensitive                                                                                                 266O-PD-3386048_0000066_1A0000051_0000003 (SENSITIVE).jpg   7/12/2021




                   4/22/2021



  Sensitive                                                                                                 266O-PD-3386048_0000066_Import (SENSITIVE).pdf              7/12/2021

                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000067_1A0000001_0000001 (SENSITIVE).pdf   7/12/2021

                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000067_1A0000001_0000002 (SENSITIVE).pdf   7/12/2021
 Nonsensitive                                                                                               266O-PD-3386048_0000067_1A0000001_0000003.pdf




                   4/23/2021                                                                                                                                            5/5/2021




 Nonsensitive                                                                                               266O-PD-3386048_0000067_1A0000001_0000004.jpg
                   4/23/2021                                                                                                                                            5/5/2021

 Nonsensitive      4/23/2021                                                                                266O-PD-3386048_0000067_1A0000001_0000005.jpeg
                                                                                                                                                                        5/5/2021



                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000068 (SENSITIVE).pdf                     7/12/2021

                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000068_1A0000002_0000001 (SENSITIVE).pdf   7/12/2021
 Nonsensitive      4/23/2021                                                                                266O-PD-3386048_0000068_1A0000002_0000002.pdf
                                                                                                                                                                        5/5/2021
                                         Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 9 of 12




Classification   Document Date   Title                            Description                                                                  File Name                Produced


                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000070 (SENSITIVE).pdf                     7/12/2021

                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000070_1A0000003_0000001 (SENSITIVE).pdf   7/12/2021
 Nonsensitive      4/23/2021                                                                                266O-PD-3386048_0000070_1A0000003_0000002.pdf
                                                                                                                                                                        5/5/2021




                   4/23/2021




  Sensitive                                                                                                 266O-PD-3386048_0000070_1A0000003_0000003 (SENSITIVE).pdf   7/12/2021
 Nonsensitive      4/23/2021                                                                                266O-PD-3386048_0000071.pdf
                                                                                                                                                                        5/5/2021



                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000072 (SENSITIVE).pdf                     7/12/2021
 Nonsensitive                                                                                               266O-PD-3386048_0000072_1A0000004_0000001.pdf
                   4/23/2021                                                                                                                                            5/5/2021

 Nonsensitive      4/23/2021                                                                                266O-PD-3386048_0000072_1A0000005_0000001_PHYSICAL.pdf
                                                                                                                                                                        5/5/2021

  Sensitive        4/23/2021                                                                                266O-PD-3386048_0000073 (SENSITIVE).pdf                     7/12/2021

                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000073_1A0000006_0000001 (SENSITIVE).pdf   7/12/2021
 Nonsensitive      4/23/2021                                                                                266O-PD-3386048_0000074.pdf                                 5/5/2021




                   4/23/2021




  Sensitive                                                                                                 266O-PD-3386048_0000075 (SENSITIVE).pdf                     7/12/2021
 Nonsensitive                                                                                               266O-PD-3386048_0000075_1A0000008_0000001_PHYSICAL.pdf
                   4/23/2021                                                                                                                                            5/5/2021

 Nonsensitive
                   4/23/2021                                                                                                                                            5/5/2021
                                                                                                            266O-PD-3386048_0000076.pdf
 Nonsensitive      4/23/2021                                                                                266O-PD-3386048_0000076_1A0000009_0000001_PHYSICAL.pdf




                                                                                                                                                                        5/5/2021




 Nonsensitive      4/23/2021
                                                                                                            266O-PD-3386048_0000077.pdf                                 5/5/2021

 Nonsensitive
                   4/23/2021                                                                                266O-PD-3386048_0000077_1A0000010_0000001_PHYSICAL.pdf      5/5/2021



                   4/23/2021
  Sensitive                                                                                                 266O-PD-3386048_0000079 (SENSITIVE).pdf                     7/12/2021
                                         Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 10 of 12




Classification   Document Date   Title                             Description                                                                  File Name                         Produced




                   4/23/2021




  Sensitive                                                                                                  266O-PD-3386048_0000079_1A0000052_0000001_PHYSICAL (SENSITIVE).pdf   7/12/2021

                   4/23/2021
  Sensitive                                                                                                  266O-PD-3386048_0000079_1A0000052_0000002 (SENSITIVE).csv            7/12/2021

                   4/23/2021
  Sensitive                                                                                                  266O-PD-3386048_0000079_1A0000052_0000003 (SENSITIVE).csv            7/12/2021

                   4/23/2021
  Sensitive                                                                                                  266O-PD-3386048_0000079_1A0000052_0000004 (SENSITIVE).pdf            7/12/2021

                   4/23/2021
  Sensitive                                                                                                  266O-PD-3386048_0000079_1A0000052_0000005 (SENSITIVE).pdf            7/12/2021

                   4/23/2021
  Sensitive                                                                                                  266O-PD-3386048_0000079_1A0000052_0000006 (SENSITIVE).xlsx           7/12/2021

                   4/23/2021
  Sensitive                                                                                                  266O-PD-3386048_0000079_1A0000052_0000007 (SENSITIVE).xlsx           7/12/2021

                   4/23/2021
  Sensitive                                                                                                  266O-PD-3386048_0000079_1A0000052_0000008_PHYSICAL (SENSITIVE).pdf   7/12/2021
 Nonsensitive
                   2/17/2021                                                                                                                                                      5/5/2021
                                                                                                             266O-PD-3386048-GJ_0000001.pdf


                   2/17/2021

  Sensitive                                                                                                  266O-PD-3386048-GJ_0000001_1A0000001_0000001 (SENSITIVE).pdf         7/12/2021
 Nonsensitive      2/17/2021                                                                                 266O-PD-3386048-GJ_0000001_1A0000001_0000002.pdf
                                                                                                                                                                                  5/5/2021

 Nonsensitive      2/17/2021                                                                                 266O-PD-3386048-GJ_0000001_1A0000001_0000003.pdf
                                                                                                                                                                                  5/5/2021

 Nonsensitive
                   2/17/2021                                                                                                                                                      5/5/2021
                                                                                                             266O-PD-3386048-GJ_0000002.pdf

                   2/17/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000002_1A0000002_0000001 (SENSITIVE).pdf         7/12/2021
 Nonsensitive      2/17/2021                                                                                 266O-PD-3386048-GJ_0000002_1A0000002_0000002.pdf




                                                                                                                                                                                  5/5/2021




 Nonsensitive      2/17/2021                                                                                 266O-PD-3386048-GJ_0000002_1A0000002_0000003.pdf
                                                                                                                                                                                  5/5/2021

 Nonsensitive
                   2/17/2021                                                                                                                                                      5/5/2021
                                                                                                             266O-PD-3386048-GJ_0000003.pdf
 Nonsensitive      2/17/2021                                                                                 266O-PD-3386048-GJ_0000003_1A0000003_0000001.pdf
                                                                                                                                                                                  5/5/2021

 Nonsensitive      2/17/2021                                                                                 266O-PD-3386048-GJ_0000003_1A0000003_0000002.pdf
                                                                                                                                                                                  5/5/2021

 Nonsensitive      2/17/2021                                                                                 266O-PD-3386048-GJ_0000003_1A0000003_0000003.jpeg
                                                                                                                                                                                  5/5/2021
                                         Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 11 of 12




Classification   Document Date   Title                             Description                                                                  File Name                   Produced
 Nonsensitive
                   2/17/2021                                                                                                                                                5/5/2021
                                                                                                             266O-PD-3386048-GJ_0000004.pdf

                   2/17/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000004_Import (SENSITIVE).pdf              7/12/2021

                   2/18/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000005 (SENSITIVE).pdf                     7/12/2021

                   2/18/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000005_1A0000004_0000001 (SENSITIVE).zip   7/12/2021
 Nonsensitive      2/18/2021                                                                                 266O-PD-3386048-GJ_0000005_1A0000004_0000002.pdf
                                                                                                                                                                            5/5/2021



                   2/18/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000006 (SENSITIVE).pdf                     7/12/2021


                   2/18/2021

  Sensitive                                                                                                  266O-PD-3386048-GJ_0000006_1A0000005_0000001 (SENSITIVE).pdf   7/12/2021

                   2/18/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000006_1A0000005_0000002 (SENSITIVE).pdf   7/12/2021
 Nonsensitive      2/18/2021                                                                                 266O-PD-3386048-GJ_0000006_1A0000005_0000003.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive
                   2/19/2021                                                                                                                                                5/5/2021
                                                                                                             266O-PD-3386048-GJ_0000007.pdf

                   2/19/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000007_1A0000006_0000001 (SENSITIVE).pdf   7/12/2021
 Nonsensitive      2/19/2021                                                                                 266O-PD-3386048-GJ_0000007_1A0000006_0000002.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive      2/19/2021                                                                                 266O-PD-3386048-GJ_0000007_1A0000006_0000003.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive      2/19/2021                                                                                 266O-PD-3386048-GJ_0000007_1A0000006_0000004.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive      2/19/2021                                                                                 266O-PD-3386048-GJ_0000007_1A0000006_0000005.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive      2/19/2021                                                                                 266O-PD-3386048-GJ_0000007_1A0000006_0000006.pdf
                                                                                                                                                                            5/5/2021



                   3/29/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000008 (SENSITIVE).pdf                     7/12/2021
 Nonsensitive      3/29/2021                                                                                 266O-PD-3386048-GJ_0000008_1A0000007_0000001.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive      3/29/2021                                                                                 266O-PD-3386048-GJ_0000008_1A0000007_0000002.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive      3/29/2021                                                                                 266O-PD-3386048-GJ_0000008_1A0000007_0000003.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive                                                                                                266O-PD-3386048-GJ_0000008_1A0000007_0000004.tif
                   3/29/2021                                                                                                                                                5/5/2021



                   3/29/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000008_1A0000007_0000005 (SENSITIVE).pdf   7/12/2021

                    4/2/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000009 (SENSITIVE).pdf                     7/12/2021

                    4/2/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000009_1A0000008_0000001 (SENSITIVE).pdf   7/12/2021
                                         Case 1:21-cr-00237-RDM Document 73-4 Filed 07/29/21 Page 12 of 12




Classification   Document Date   Title                             Description                                                                  File Name                   Produced
 Nonsensitive       4/2/2021                                                                                 266O-PD-3386048-GJ_0000009_1A0000008_0000002.pdf
                                                                                                                                                                            5/5/2021

 Nonsensitive       4/2/2021                                                                                 266O-PD-3386048-GJ_0000009_1A0000008_0000003.pdf
                                                                                                                                                                            5/5/2021



                    4/2/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000009_1A0000008_0000004 (SENSITIVE).pdf   7/12/2021

                    4/2/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000009_1A0000008_0000005 (SENSITIVE).pdf   7/12/2021

                    4/2/2021
  Sensitive                                                                                                  266O-PD-3386048-GJ_0000009_1A0000008_0000006 (SENSITIVE).zip   7/12/2021
 Nonsensitive      2/22/2021                                                                                 266O-PD-3386048-PEN_0000001.pdf
                                                                                                                                                                            5/5/2021



                   2/23/2021
  Sensitive                                                                                                  266O-PD-3386048-PEN_0000002 (SENSITIVE).pdf                    7/12/2021
